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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     *

      vs.                                    * Case No.: 22-cr-00067 CJN

JOSHUA JOHN PORTLOCK                         *

      Defendant                              *


                            PROPOSED ORDER OF THE COURT

      This matter is before the Court on the defendant’s Consent Motion for

Continuance and Exclusion of Time from Calculation Under the Speedy Trial Act.

The Court having considered the motion, being fully advised, it is this _____ day of

_____________, 2023:

      ORDERED, that the Consent Motion for Continuance and Exclusion of Time

From Calculation Under the Speedy Trial Act be and the same is hereby

GRANTED; and it is further,

      ORDERED, that the status conference scheduled for Monday, May 1, 2023

at 3:30p.m. is hereby continued for a period of approximately 45 days to

______________________, and that this time is excluded from the Speedy Trial

calculation in this case.

                                      __________________________________
                                      UNITED STATES JUDGE
